                                                                                             DISTRICT OF OREGON
                                                                                                  FILED
                                                                                               September 04, 2020
                                                                                          Clerk, U.S. Bankruptcy Court



            Below is an order of the court.




                                                                               _____________________________
                                                                                      TRISH M. BROWN
                                                                                    U.S. Bankruptcy Judge




                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF OREGON

In re                                                       )
                                                            )    Case No.        20-31642-tmb13
Ralph E. Radmer
                                                            )
Shelley J. Radmer
                                                            )
                                                            )    CONFIRMATION HEARING DATE:               09/03/20
                                                            )
                                                            )    ORDER CONFIRMING PLAN
                                                            )    AND RESOLVING MOTIONS
Debtor(s)                                                   )


      The debtor's plan having been provided to creditors and the Court having found that it complies with 11 USC
§ 1325, now, therefore IT IS ORDERED:

                             10 is confirmed, and all relief requested in the plan is granted. All references to the plan
1. Debtor's plan (Docket # ____)
are to the plan as modified by any amendment shown in ¶ 4 below.

2. Pursuant to 11 USC §522(f)(1), the following liens are avoided [listed alphabetically, and only one per line, including
each creditor’s name, service address, and lien type (e.g., judicial lien or non-purchase money security interest)]:
NONE




1350.17 (12/1/2017)                           Page 1 of 2              [Note: Printed text may not be stricken]

                               Case 20-31642-thp13           Doc 25     Filed 09/04/20
3. Per the filed Application for Compensation (LBF 1305) and, if applicable, the Fees and Expenses Itemization
                                                                                              3450.00
Through __________ (LBF 1306), compensation to debtor’s counsel of attorney fees of $____________         and
                  0.00
expenses of $____________,                 690.00
                              of which $ ___________ has been paid, leaving $       2760.00      to be paid as
funds become available per plan ¶ 4(c).

4. Debtor has moved to amend the plan by interlineation as follows, which amendments are allowed and become
part of the confirmed plan:

¶3(c) - add “2019, 2020, 2021”

¶15 Strike "If said purchase does not close by this date, debtors shall turn over any non-exempt equity
from any equitable interest in this property within a reasonable time frame after debtors receive said
non-exempt equity."



5. The terms of this order are subject to any objection filed within 21 days by [listed alphabetically, and only one per
line, including each creditor’s name, service address]:
NONE




Additional Provisions, if any:




                                                          ###

                    09/02/20 I provided this Order to the Trustee for submission to the court.
I certify that on ___________



                                                                       /s/ Aaron R. Varhola, Debtors' Attorney
                                                                       ___________________________________
                                                                       Debtor or Debtor’s Attorney

          /s/ J. Hantman for Wayne Godare
Approved: _______________________________
                      Trustee




1350.17 (12/1/2017)                           Page 2 of 2             [Note: Printed text may not be stricken]

                                 Case 20-31642-thp13        Doc 25     Filed 09/04/20
